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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                        )
DESKTOP METAL, INC.,                    )
                                        )
                Plaintiff and
                                        )
                Counterclaim Defendant,
                                        )
v.                                      )
                                        )
                                                   Civil Action No. 1:18-CV-10524-WGY
MARKFORGED, INC. AND MATIU              )
PARANGI,                                )
                                        )
                Defendants and          )
                Counterclaim Plaintiff )            ORAL ARGUMENT REQUESTED
                (Markforged, Inc.),     )
                                        )
v.
                                        )
RICARDO FULOP, JONAH MYERBERG,          )
BOSTON IMPACT LLC, and AMY BUNTEL, )
                                        )
               Third-Party Defendants. )
                                        )


MARKFORGED, INC.'S MOTION TO COMPEL THE THIRD-PARTY DEFENDANTS
           TO COMPLY WITH ITS DISCOVERY REQUESTS

       Defendant and Counterclaim Plaintiff Markforged, Inc. ("Markforged") hereby moves to

compel the Third-Party Defendants to comply with its discovery requests. Markforged issued

requests for production of documents to the Third-Party Defendants Ricardo Fulop, Jonah

Myerberg, Boston Impact LLC and Amy Buntel on April 24, 2018, and sought production in

response to those requests by May 8, 2018. On May 8, the Third-Party Defendants informed

Markforged for the first time that they would not comply with the discovery.
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        For the reasons more fully explained in the accompanying Memorandum of Law,

Markforged hereby moves to compel the Third-Party Defendants to produce the requested

documents no later than May 11, 20181 or 72 hours in advance of their respective depositions, so

that fact depositions can be completed in advance of the May 25, 2018 deadline.




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  May 11, 2018 is the deadline for substantial document production as between Desktop Metal and Markforged,
pursuant to this Court's Scheduling Order. (Dkt. No. 38).



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                                          Respectfully submitted,



                                          /s/ Harvey J. Wolkoff
Dated: May 9, 2018                        Harvey J. Wolkoff (BBO# 532880)
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                               CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon attorneys of

record on May 9, 2018.

                                                           /s/ Aliki Sofis


                           LOCAL RULE 7.1 CERTIFICATION

       I certify that Markforged, Inc. has complied with the provisions of Local Rule 7.1 by

meeting and conferring with counsel for Ricardo Fulop, Jonah Myerberg, Boston Impact, LLC

and Amy Buntel on May 9, 2018. The parties were unable to agree with respect to the issues

raised in the Motion and are thus at an impasse and require the Court's assistance to resolve the

dispute.

                                                           /s/ Aliki Sofis




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